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                       9                         UNITED STATES DISTRICT COURT
                      10                      SOUTHERN DISTRICT OF CALIFORNIA
                      11                                  SAN DIEGO DIVISION
                      12
                      13   M.M.M., on behalf of his minor child,    Case No. 3:18-cv-1832-DMS
                           J.M.A., et al.,
                      14                                            Honorable Dana M. Sabraw
                      15                    Plaintiffs,
                      16   v.
                      17   Jefferson Beauregard Sessions, III,
                           Attorney General of the United States,
                      18   et al.,
                      19                    Defendants.
                      20
                                                                    Case No. 3:18-cv-428-DMS
                      21   Ms. L, et al.,
                                                                    Honorable Dana M. Sabraw
                      22
                                            Plaintiffs,
                      23                                            UNOPPOSED MOTION FOR
                           v.                                       PRELIMINARY APPROVAL OF
                      24                                            PROPOSED SETTLEMENT;
                                                                    PRELIMINARY
                      25   U.S. Immigration and Customs             CERTIFICATION OF
                           Enforcement, et al.,                     SETTLEMENT CLASSES; AND
                      26                                            APPROVAL OF CLASS NOTICE
                                            Defendants.
                      27

H OGAN L OVEL LS US                                                   UNOPPOSED MOTION FOR PRELIMINARY
       LLP
  ATTO RNEY S AT LAW                                                  APPROVAL OF PROPOSED SETTLEMENT
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                       1       I.   INTRODUCTION1
                       2            This proposed settlement agreement (“the Agreement”), attached hereto as
                       3   Exhibit 9, arises out of litigation in several lawsuits involving the separation of
                       4   alien parents and children at or near the U.S. border: M.M.M. v. Sessions, Case No.
                       5   3:18-cv-1832-DMS (S.D. Cal.), M.M.M. v. Sessions, Case No. 1:18-cv-1835-PLF
                       6   (D.D.C.), Ms. L. v. ICE, Case No. 3:18-cv-428-DMS (S.D. Cal.), and Dora v.
                       7   Sessions, Case No. 18-cv-1938 (D.D.C.).        Among other things, these lawsuits
                       8   challenge the separation of families as a result of the government’s Zero-Tolerance
                       9   Policy and allege that Defendants failed to provide adequate opportunity to seek
                      10   asylum or other protection from removal in the United States. The Agreement
                      11   contemplates certification of separate classes of parents and their children (defined
                      12   more specifically below) (the “Settlement Classes”).
                      13            If the Court approves the Agreement, Defendants will provide various
                      14   procedures to enable members of the Settlement Classes to seek asylum or other
                      15   protection from removal. Parents or children who seek to waive their rights under
                      16   this settlement agreement and be promptly removed to their country of origin, have
                      17   the right to do so. In such a case, the parent or child is not eligible for any
                      18   additional relief under the Agreement. In return, the M.M.M. class members and
                      19   Dora Plaintiffs agree to dismiss their existing cases in the District of Columbia, the
                      20   M.M.M. class members agree to refrain from seeking preliminary injunctive relief
                      21   in their pending litigation in the Southern District of California, and all class
                      22   members agree to refrain from additional litigation seeking immigration- or
                      23   asylum-related injunctive, declaratory, or equitable relief that arises from the facts
                      24
                      25   1
                            Defendants do not oppose the request for relief contained in this motion or the
                      26   entry of the proposed order filed herewith. However, Defendants do not join in the
                           motion itself and do not agree with all of the arguments and characterizations
                      27   contained herein. To the extent any disputes arise over the agreement or
                           implementation, the text of the agreement, and not any characterizations of the
                      28   agreement contained in this motion, controls.
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                       1   and circumstances set forth in the Ms. L, M.M.M., or Dora complaints relating to
                       2   those parents and children covered by this plan, accruing as of the date the
                       3   settlement is approved by the Court, including statutory claims.
                       4         Pursuant to Rule 23(e) of the Federal Rules of Civil Procedure, Plaintiffs
                       5   now request that the Court preliminarily approve the Agreement, preliminarily
                       6   certify the proposed Settlement Classes, approve the form and plan of notice, and
                       7   schedule a final fairness hearing, as set forth in the attached stipulated order
                       8   (“Proposed Order”). The Agreement easily qualifies for preliminary approval, as
                       9   set forth below. The proposed Settlement Classes qualify for certification under
                      10   Rules 23(a) and 23(b)(2) of the Federal Rules of Civil Procedure. The Agreement
                      11   provides the Settlement Classes with the equitable relief sought, including access to
                      12   procedures to pursue asylum or other protection from removal. And the proposed
                      13   form and plan of notice provides the best notice that is practicable under the
                      14   circumstances. The Court should therefore preliminarily approve the Agreement,
                      15   preliminarily certify the proposed Settlement Classes, and approve the form and
                      16   plan of notice.
                      17   II.   BACKGROUND
                      18             a. Ms. L and Dora Cases
                      19         The Ms. L. plaintiffs are two parents who were separated from their minor
                      20   children at or near the U.S. border and who sought injunctive relief on behalf of
                      21   themselves and a class of similarly situated parents. On June 26, 2018, this Court
                      22   certified a class of parents (the Ms. L. Class), defined as:
                      23
                                 All adult parents who enter the United States at or between designated
                      24         ports of entry who (1) have been, are, or will be detained in
                                 immigration custody by the DHS, and (2) have a minor child who is
                      25         or will be separated from them by DHS and detained in ORR custody,
                                 ORR foster care, or DHS custody, absent a determination that the
                      26         parent is unfit or presents a danger to the child.
                      27   The class does not include “migrant parents with criminal history or communicable

                      28   disease, or those who are in the interior of the United States or subject to the
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                       1   [executive order].” Ms. L. v. ICE, No. 18-428, ECF No. 82 at 17 n.10. On June 26,
                       2   2018, the Court also entered a class-wide preliminary injunction that, in relevant
                       3   part, enjoined the government from detaining Ms. L. Class Members in DHS
                       4   custody without and apart from their minor children, absent a determination that the
                       5   parent is unfit or presents a danger to the child, unless the parent affirmatively,
                       6   knowingly, and voluntarily declines to be reunited with the child in DHS custody,
                       7   and further ordered the reunification of Ms. L. Class Members already separated.
                       8         In litigation filed in the District of Columbia, in Dora v. Sessions, Case No.
                       9   18-cv-1938 (D.D.C.), twenty-nine named plaintiffs alleged that their separation
                      10   from their children denied them of a meaningful opportunity to apply for the
                      11   protections of asylum. 2     The Dora plaintiffs went through the credible fear
                      12   interview process while separated from their children and received negative
                      13   determinations. As a result of the negative determination, the Dora plaintiffs were
                      14   subject to removal pursuant to expedited removal orders. In the Dora litigation, the
                      15   plaintiffs alleged that the trauma caused by their family separation deprived them of
                      16   a reasonable opportunity to articulate a credible fear, in violation of the Due
                      17   Process Clause of the Fifth Amendment of the United States Constitution, the
                      18   Immigration and Nationality Act, the Rehabilitation Act, and the Administrative
                      19   Procedure Act. The Dora plaintiffs sought an injunction declaring the government’s
                      20   policies to be unlawful and allowing them to receive new credible fear interviews
                      21   after reunification with their children.
                      22             b. The M.M.M. Case
                      23         The M.M.M. plaintiffs are six children who were separated from their
                      24   parents, who are Ms. L. class members, as a result of their parents’ referral for
                      25
                      26   2
                                 Two named plaintiffs from the Dora case have been or soon will be added to
                      27   the Ms. L action by way of an amended complaint in the Southern District of
                           California, for the purpose of serving as class representatives for the class of
                      28   parents for purposes of this settlement.
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                       1   criminal prosecution under the government’s Zero-Tolerance Policy. The M.M.M.
                       2   plaintiffs (and the proposed Settlement Class of other separated children like them)
                       3   allege that, as a result, they were not given any opportunity to apply for asylum
                       4   where their parent was subject to a final order of removal and elected to be
                       5   reunified with their child, even following reunification with their parents.      In
                       6   particular, the U.S. government took the position that a decision by parents on an
                       7   “election form” to be reunified with their child for removal meant that the parent
                       8   was waiving the child’s right to independently pursue a claim for asylum.
                       9         The M.M.M. plaintiffs filed a class action complaint seeking injunctive relief
                      10   on behalf of a putative class consisting of “all non-citizens under the age of 18 who
                      11   were separated from their parents or guardians upon (or after) entry into the United
                      12   States and who are, have been, or will be detained by the U.S. government at any
                      13   time since January 1, 2018.” The Complaint alleged four causes of action arising
                      14   under the Due Process Clause of the Fifth Amendment to the U.S. Constitution, 28
                      15   U.S.C. § 1361, the Administrative Procedure Act, and 8 U.S.C. § 1252(e)(3).
                      16         The M.M.M. complaint was originally filed in the U.S. District Court for the
                      17   District of Columbia on July 27, 2018. Judge Friedman entered an order severing
                      18   Counts I-III of the M.M.M. complaint and transferring those claims to this Court.
                      19   Judge Friedman retained jurisdiction over Count IV because the D.C. District Court
                      20   has exclusive jurisdiction over claims arising under 8 U.S.C. § 1252(e)(3). This
                      21   Court subsequently entered a temporary restraining order, staying the removal of all
                      22   putative class members and their parents pending a resolution of their preliminary
                      23   injunction motion. In entering the order, the Court found that plaintiffs were likely
                      24   to succeed on the merits because Section 235 of the INA, 8 U.S.C. § 1225, sets
                      25   forth a “nondiscretionary duty” to provide a credible fear interview to any alien
                      26   subject to expedited removal who indicates a fear of returning to their country of
                      27   origin. The Court also rejected the government’s argument that plaintiffs’ rights to
                      28   seek asylum or other protection from removal had been waived by their parents’
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                       1   signing of the “election form.” The Court expressed its preliminary view that
                       2   “Plaintiffs’ asylum claims would be more appropriately addressed under § 235
                       3   since Plaintiffs are not truly ‘unaccompanied’ minors warranting removal
                       4   proceedings under § 240,” but reserved final ruling on that issue. The Court
                       5   directed the parties to “meet and confer and propose a solution—one that follows
                       6   the law, and is equitable and reflective of ordered governance.” Id. Per the Court’s
                       7   instructions, counsel for Defendants and the Ms. L., M.M.M., and Dora Plaintiffs
                       8   met and conferred extensively over the ensuing four weeks.              After extensive
                       9   negotiation, the parties reached final agreement on September 12, 2018 and
                      10   attached their agreement to a joint status report filed the same day.
                      11             c. Material Terms of the Proposed Settlement
                      12         The first part of the proposed agreement contemplates certification of
                      13   settlement classes of parents and children. The parent Settlement Class is defined
                      14   as follows:
                      15         All adult alien parents who entered the United States at or between
                                 designated ports of entry with their child(ren), and who, on or before the
                      16         effective date of this agreement: (1) were detained in immigration custody by
                                 the DHS; (2) have a child who was or is separated from them by DHS and,
                      17         on or after June 26, 2018, was housed in ORR custody, ORR foster care, or
                                 DHS custody, absent a determination that the parent is unfit or presents a
                      18         danger to the child; and (3) have been (and whose child(ren) have been)
                                 continuously physically present within the United States since June 26, 2018,
                      19         whether in detention or released. The class does not include alien parents
                                 with criminal histories or a communicable    disease, or those encountered in
                      20         the interior of the United States.3
                      21   The class of children is defined as follows:
                      22         All alien children who are under the age of 18 on the effective date of
                                 this agreement who: (1) entered the United States at or between
                      23         designated ports of entry with an alien parent, and who were separated
                                 from their parents, on or before the effective date of this settlement
                      24         agreement; (2) have been or will be reunified with that parent
                                 pursuant to the preliminary injunction issued by the Court in Ms. L v.
                      25         U.S. Immigration and Customs Enforcement, No. 18-428 (S.D. Cal.
                      26
                           3
                      27          In addition, references to “class” or “class member” in the Settlement
                           Agreement include any parents who are not part of the Ms. L. class due to criminal
                      28   history or communicable disease, but who the Court has ordered must be reunified.
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                       1          June 26, 2018); and (3) have been continuously physically present in
                                  the United States since June 26, 2018.
                       2
                           This section of the agreement provides significant benefits to the members of both
                       3
                           proposed classes. The procedural mechanisms vary depending on class members’
                       4
                           circumstances, and do not affect the right of Ms. L. class members to seek
                       5
                           reunification pursuant to the Court’s preliminary injunction during these processes.
                       6
                           In particular, the agreement provides for the following relief:
                       7
                                For parent class members who have final expedited removal orders, USCIS
                       8         will exercise its discretionary authority to sua sponte conduct a good faith, de
                                 novo review of the parent’s negative credible fear finding. For the limited
                       9         purpose of this Agreement, the review process will include an opportunity to
                                 meet with an asylum officer for additional fact-gathering, and the parent will
                      10         have the opportunity to present additional information    that was not provided
                                 during their original credible fear interview (CFI).4 Children will be treated
                      11         as the parents’ dependents under 8 C.F.R. § 208.30(b).
                      12             o Based on that interview, USCIS may reconsider the parent’s negative
                                       credible fear finding. If USCIS does so, both the parent and the child
                      13               will be issued NTAs and placed into removal proceedings under
                                       Section 240.
                      14
                                     o If USCIS does not reconsider the parent’s negative credible fear
                      15               finding, USCIS will provide the child with a CFI. The parent will be
                                       permitted to assist the child in the interview and offer testimony on the
                      16               child’s behalf. If the child establishes a credible fear, then both the
                                       child and the parent will be issued NTAs and placed into removal
                      17               proceedings under Section 240, notwithstanding the parent’s negative
                                       credible fear finding.
                      18
                                For detained parents with reinstated removal orders, USCIS will exercise its
                      19         discretionary authority to sua sponte conduct a good faith, de novo review of
                                 the parent’s negative reasonable fear finding. For the limited purpose of this
                      20         Agreement, the review process will include an opportunity to meet with an
                                 asylum officer for additional fact-gathering, and the parent will have the
                      21         opportunity to present additional information that was not provided during
                                 their original reasonable fear interview (RFI). The child will be, as described
                      22         above, placed into expedited removal and screened for credible fear.
                      23             o If the parent establishes that he or she can meet the reasonable fear
                                       standard, the parent will be referred for withholding-only proceedings.
                      24
                      25   4
                                  For any review of a parent’s credible fear or reasonable fear finding, and for
                      26   any credible fear interview provided to a member of the child class, counsel for the
                           parent or counsel for the child, respectively, will be able to participate in that
                      27   interview in person unless ICE determines in good faith that in-person participation
                           would adversely affect facility security or operations. If in-person attendance is not
                      28   possible, counsel will be able to participate telephonically.
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                       1            o Regardless of the parent’s ability to establish a reasonable fear upon
                                      further review, the parent’s child will be provided a credible fear
                       2              interview. The parent will be permitted to assist the child in the
                                      interview and offer testimony on the child’s behalf. If the child
                       3              establishes a credible fear, then the child will be issued an NTA and
                                      placed into removal proceedings under Section 240. The parent will
                       4              remain in withholding-only proceedings if the parent’s reasonable fear
                                      finding is changed to positive.
                       5
                               For children who are currently detained with their parents and whose parents
                       6        have received a final order of removal after going through removal
                                proceedings under Section 240, and the child is an arriving alien or was
                       7        initially encountered within 14 days of entry and 100 miles of the border, the
                                child will be placed into expedited removal and, if the child asserts, or has
                       8        already asserted, an intention to apply for asylum or a fear of persecution or
                                torture, either directly or through counsel, will be provided with the same
                       9        credible fear process described above. If the child establishes a credible fear,
                                the child will be issued an NTA and be placed into Section 240 proceedings,
                      10        and the government will move to reopen the parent’s Section 240
                                proceedings and consolidate them with the child’s proceedings.
                      11
                               For children who have been reunited with their parents and are detained, ICE
                      12        will either exercise its discretion to cancel any issued NTA or will file a joint
                                motion to dismiss any pending immigration proceedings, and will, upon a
                      13        finding that the child is an arriving alien or was initially encountered within
                                14 days of entry and 100 miles of the border, initiate expedited removal
                      14        proceedings against the child. If the child asserts, or has already asserted, an
                                intention to apply for asylum or a fear of persecution or torture, the child will
                      15        be referred to USCIS for a credible fear interview. For parents and children
                                who have been released and were issued NTAs, such parents and children
                      16        cannot be removed unless and until they receive final orders of removal after
                                going through Section 240 removal proceedings.
                      17
                               For parents and children who have been released, are not subject to a final
                      18        order of removal, and are not in Section 240 proceedings, such parents and
                                children can affirmatively apply for asylum, and USCIS will adjudicate the
                      19        application regardless of whether an unfiled NTA exists.
                      20       If a child has received a final removal order prior to reunification, the
                                government will join a motion to reopen the Section 240 proceedings if
                      21        requested within 45 days of court approval of the agreement. Counsel for the
                                plaintiffs and the government will work together in good faith to identify any
                      22        such children within 15 days of approval of the agreement.
                      23       For children who have not been reunified, they will maintain their
                                classification as “unaccompanied alien children” and will receive the various
                      24        procedures to which they are entitled, unless and until they are reunified with
                                their parent, at which point the procedures described in the proposed
                      25        settlement will apply.
                      26
                                 The second part of the agreement reflects the parties’ agreement with regard
                      27
                           to individuals who fit the parent class description as defined above, but have been
                      28
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                       1   removed from the United States, as well as the rights of members of the children
                       2   class whose parents have been removed. 5 For those individuals, the parties’
                       3   agreement is as follows:
                       4        The Agreement states that the government does not intend or agree to return
                                 any removed parent to the United States. For parents who were removed
                       5         without their child, Plaintiffs’ counsel may raise with the government
                                 individual “rare and unusual” cases in which Plaintiffs’ counsel believes the
                       6         return of a particular removed Ms. L class member may be warranted.
                                 Plaintiffs’ counsel will present any such cases, including all evidence they
                       7         would like considered by the government within 30 days of court approval of
                                 the agreement. Defendants will provide a reply to any case presented by
                       8         Plaintiffs within 30 days of receiving Plaintiffs’ request to consider the case.
                       9        For the children of removed parents who choose to remain in the United
                                 States and seek asylum or other protection from removal, the government
                      10         will not oppose requests that the removed parent provide testimony or
                                 evidence telephonically or in writing in the child’s asylum or removal
                      11         proceedings. In addition, ICE attorneys appearing in immigration court (1)
                                 will not object to the admission of documentary evidence (such as
                      12         photocopied, scanned, or faxed documents) provided by the removed parent
                                 on the grounds that such documentary evidence does not bear an original
                      13         signature or is not an original copy (ICE reserves the right to object based on
                                 other grounds), and (2) will not object to telephonic participation by the
                      14         parent in the child’s Section 240 removal proceedings provided that the
                                 noncitizen (and his or her legal representative, if applicable) make
                      15         appropriate motions to the immigration judge to permit telephonic testimony
                                 in advance of any merits hearing, that the alien is responsible for providing
                      16         accurate contact information to permit the immigration judge to make contact
                                 with the parent, and that the parent’s unavailability and faulty connections or
                      17         other technological impediments may not serve as the basis for delaying
                                 scheduled hearings.
                      18
                      19          If the proposed settlement becomes final, class members will be prohibited
                      20   from pursuing “any other immigration- or asylum-related injunctive, declaratory, or
                      21   equitable relief based on the allegations or claims made in any of the Ms. L,
                      22   M.M.M., or Dora complaints filed in any court accruing as of the date this plan is
                      23   approved by the Court, including statutory claims.” The proposed settlement does
                      24   not release claims for money damages, nor does it release claims for injunctive,
                      25   declaratory, or equitable relief that are not immigration- or asylum-related, or
                      26
                           5
                      27    For purposes of this section of the Agreement, the class definitions are the same as
                           described above, except that the requirements of continuous physical presence do
                      28   not apply, since this section addresses removed parents.
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                       1   claims that are not based on the allegations made in the Ms. L, M.M.M., or Dora
                       2   complaints.
                       3   III.   LEGAL STANDARD
                       4          The Ninth Circuit has a “strong judicial policy that favors settlements,
                       5   particularly where complex class action litigation is concerned.” Class Plaintiffs v.
                       6   Seattle, 955 F.2d 1268, 1276 (9th Cir. 1992). Under Rule 23(e) of the Federal
                       7   Rules of Civil Procedure, a class action settlement that is binding on absent class
                       8   members requires court approval. “Court approval requires a two-step process: (1)
                       9   preliminary approval of the settlement; and (2) following a notice period to the
                      10   class, final approval of the settlement at a fairness hearing.” Nwabueze v. AT&T
                      11   Inc., 2013 U.S. Dist. LEXIS 169270 (N.D. Cal. Nov. 27, 2013). This case is at the
                      12   first step. Accordingly, Plaintiffs move for an order preliminarily approving the
                      13   settlement.
                      14          As part of the preliminary approval process, the Court must “determine
                      15   whether the class is proper for settlement purposes,” and, if so, preliminarily certify
                      16   the class. Amchem Products, Inc. v. Windsor, 521 U.S. 591, 620 (1997). To
                      17   support certification, a court must find each of Fed. R. Civ. P. 23(a)’s requirements
                      18   (i.e. numerosity, commonality, typicality, and adequacy of representation) satisfied.
                      19   In addition, the party seeking certification must show that the proposed class
                      20   satisfies “one of the subsections of Rule 23(b)” – here, 23(b)(2), which “permits
                      21   certification where ‘the party opposing the class has acted or refused to act on
                      22   grounds that apply generally to the class, so that final injunctive relief or
                      23   corresponding declaratory relief is appropriate respecting the class as a whole.’”
                      24   Kamakahi v. Am. Soc’y for Reprod. Med., 305 F.R.D. 164, 175 (N.D. Cal. 2015)
                      25   (quoting Fed. R. Civ. P. 23(b)(2)). In conducting the certification analysis, “a
                      26   district court need not inquire whether the case, if tried, would present intractable
                      27   management problems . . . for the proposal is that there be no trial.” Id. (citations
                      28   omitted).
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                       1          In deciding on preliminary approval, the court determines whether the
                       2   proposed settlement warrants consideration by members of the class and a later, full
                       3   examination by the court at a final approval hearing.        Manual for Complex
                       4   Litigation (Fourth) § 13.14 at 173. This does not require the Court to perform a
                       5   full-blown analysis of the settlement, but rather merely to determine whether the
                       6   settlement falls “within the range of possible approval.” In re Tableware Antitrust
                       7   Litig., 484 F. Supp. 2d 1078, 1080 (N.D. Cal. 2007).
                       8   IV.    ANALYSIS
                       9             a. The Requirements of Rule 23(a) Are Satisfied
                      10          Rule 23(a) provides four baseline requirements for certifying a class:
                      11   numerosity, commonality, typicality, and adequacy.      All four requirements are
                      12   satisfied here.
                      13          Numerosity. Rule 23(a)(1) requires the class to be “so numerous that joinder
                      14   of all members is impracticable.” Fed. R. Civ. P. 23(a)(1). The plaintiff need not
                      15   state the exact number of potential class members; nor is a specific minimum
                      16   number required. Perez-Funez v. Dist. Dir., I.N.S., 611 F. Supp. 990, 995 (C.D.
                      17   Cal. 1984); Arnold v. United Artists Theatre Circuit, Inc., 158 F.R.D. 439, 448
                      18   (N.D. Cal. 1994). “[C]ourts have routinely found the numerosity requirement
                      19   satisfied when the class comprises 40 or more members.” Kamakahi, 305 F.R.D. at
                      20   183.   Moreover, where a plaintiff seeks injunctive and declaratory relief, the
                      21   numerosity “requirement is relaxed and plaintiffs may rely on [] reasonable
                      22   inference[s] arising from plaintiffs’ other evidence that the number of unknown and
                      23   future members of [the] proposed []class . . . is sufficient to make joinder
                      24   impracticable.” Arnott v. U.S. Citizenship & Immigration Servs., 290 F.R.D. 579,
                      25   586 (C.D. Cal. 2012) (quoting Sueoka v. United States, 101 Fed. App’x 649, 653
                      26   (9th Cir. 2004)).
                      27          The numerosity requirement is easily satisfied for the Settlement Classes.
                      28   The parent class includes hundreds of parents. Cf. Dkt. No. 82 at 8 n. 7. The child
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                       1   class is necessarily at least as large because it includes the children of all parents
                       2   who are in the parent classes.      Both Settlement Classes therefore satisfy the
                       3   numerosity requirement.
                       4         Commonality. The second element of Rule 23(a) requires the existence of
                       5   “questions of law or fact common to the class[.]”         Fed. R. Civ. P. 23(a)(2).
                       6   Commonality is satisfied where the plaintiff alleges the existence of a “common
                       7   contention” that is “capable of classwide resolution[.]” Wal-Mart Stores, Inc. v.
                       8   Dukes, 564 U.S. 338, 350 (2011).        The commonality requirement has “‘been
                       9   construed permissively,’ and ‘[a]ll questions of fact and law need not be common to
                      10   satisfy the rule.’” Ellis v. Costco Wholesale Corp., 657 F.3d 970, 981 (9th Cir.
                      11   2011) (quoting Hanlon v. Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. 1998)).
                      12   Indeed, “commonality only requires a single significant question of law or fact[,]”
                      13   Mazza v. Am. Honda Motor Co., Inc., 666 F.3d 581, 589 (9th Cir. 2012) (citing
                      14   Dukes, 564 U.S. at 359), and that is particularly so where a suit “challenges a
                      15   system-wide practice or policy that affects all of the putative class members.”
                      16   Armstrong v. Davis, 275 F.3d 849, 868 (9th Cir. 2001).
                      17         The proposed Settlement Classes present claims that raise common questions
                      18   of fact and law. With respect to the parent classes, the claims raise the common
                      19   question of whether separation of parents and children at the border deprived those
                      20   individuals of a meaningful opportunity to pursue asylum claims, in violation of the
                      21   Due Process Clause of the Fifth Amendment and other federal laws.6 This claim is
                      22   common to all parent class members, and this Court previously found that due
                      23   process claims arising from the separation raise common questions sufficient to
                      24   satisfy the commonality requirement.      See Dkt. No 82 at 12:5-13:16 (quoting
                      25
                      26   6
                            In Dora v. Sessions, 18-cv-1938 (D.D.C. 2018), these parents alleged that they
                      27   were deprived of meaningful access to apply for asylum, in violation of due
                           process, the Rehabilitation Act (29 U.S.C. § 701), the Administration Procedure
                      28   Act, and the Immigration and Nationality Act.
H OGAN L OVEL LS US
       LLP                                                         - 12 -   UNOPPOSED MOTION FOR PRELIMINARY
  ATTO RNEY S AT LAW                                                        APPROVAL OF PROPOSED SETTLEMENT
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                       1   Parsons v. Ryan, 754 F.3d 657, 678 (9th Cir. 2014) (“‘[P]olicies and practices are
                       2   the ‘glue’ that holds together the putative class . . .; either each of the policies and
                       3   practices is unlawful as to every inmate or it is not. That inquiry does not require us
                       4   to determine the effect of those policies and practices upon any individual class
                       5   member (or class members) or to undertake any other kind of individualized
                       6   determination.’”)). As the Court acknowledged in its prior class certification Order
                       7   in Ms. L., the reasoning in Parsons is applicable to the current matter. As a result,
                       8   the due process claims are sufficiently common to satisfy Rule 23(a)(2)’s
                       9   permissive standard regarding commonality. See Mazza v. Am. Honda Motor Co.,
                      10   Inc., 666 F.3d 581, 589 (9th Cir. 2012) (citing Dukes, 564 U.S. at 359).
                      11         Likewise, the central legal question presented by the claims of the child class
                      12   is whether the Government’s separation of parents and children – and removal of
                      13   the parent and child together following reunification without providing the child
                      14   with an independent opportunity to apply for asylum– violated the Due Process
                      15   Clause of the Fifth Amendment and other federal laws. Thus, the common legal
                      16   questions include: (1) whether class members can be removed before receiving an
                      17   opportunity to seek asylum or otherwise assert defenses to removal, (2) whether
                      18   their parents can and did waive their rights to seek asylum, (3) what process, if any,
                      19   is due prior to removal, and (4) whether class members have a right to be
                      20   accompanied by their parent as they go through that process. Commonality is
                      21   therefore satisfied. Cf. Parsons, 754 F.3d at 678 (finding commonality and noting
                      22   “although a presently existing risk may ultimately result in different future harm for
                      23   different inmates—ranging from no harm at all to death—every inmate suffers
                      24   exactly the same constitutional injury when he is exposed to a single statewide
                      25   ADC policy or practice that creates a substantial risk of serious harm.”).
                      26         Typicality. The next requirement of Rule 23(a) is typicality, which focuses
                      27   on the relationship of facts and issues between the class and its representatives.
                      28   “[R]epresentative claims are ‘typical’ if they are reasonably co-extensive with those
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       LLP                                                          - 13 -   UNOPPOSED MOTION FOR PRELIMINARY
  ATTO RNEY S AT LAW                                                         APPROVAL OF PROPOSED SETTLEMENT
     LOS A NG EL ES
                       1   of absent class members; they need not be substantially identical.” Hanlon, 150
                       2   F.3d at 1020. “The test of typicality is whether other members have the same or
                       3   similar injury, whether the action is based on conduct which is not unique to the
                       4   named plaintiffs, and whether other class members have been injured by the same
                       5   course of conduct.” Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir.
                       6   1992) (citation and internal quotation marks omitted). The typicality requirement
                       7   will occasionally merge with the commonality requirement. See Parsons, 754 F.3d
                       8   at 687.
                       9         The typicality requirement is met for the parent class. This Court previously
                      10   found the typicality element was satisfied for the parent classes because: (1) the
                      11   named plaintiffs and absent class members were subject to the same practice –
                      12   family separation; (2) the due process claims raised by the plaintiffs and the absent
                      13   class members were the same; and (3) the plaintiffs and absent class members
                      14   suffered the same or similar injury. See Dkt. No. 82 at 14:8-18. Just as with the
                      15   issues raised by the named plaintiffs in Ms. L., the proposed named plaintiffs7 and
                      16   Settlement Class members share a set of legal claims – that the parent class
                      17   members were deprived of a meaningful opportunity to pursue asylum or other
                      18   protection from removal. Similarly, the alleged injury – denial of the named
                      19   plaintiffs’ Settlement Class members’ right to a meaningful opportunity to pursue
                      20   asylum procedures or other protection from removal – is the same for all class
                      21   members. Accordingly, the typicality requirement is met.
                      22         The typicality requirement is also met for the child class, because the claims
                      23   of the M.M.M. plaintiffs are “reasonably co-extensive” with the claims of members
                      24   of the Settlement Class. As noted above, all members of the proposed Settlement
                      25   Class were separated from their parents and were subsequently subject to
                      26
                           7
                      27    For purposes of this Motion, the named plaintiffs include individuals from the
                           Dora action who have been or will be added to the Ms. L action by way of an
                      28   amended complaint in the Southern District of California.
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       LLP                                                        - 14 -   UNOPPOSED MOTION FOR PRELIMINARY
  ATTO RNEY S AT LAW                                                       APPROVAL OF PROPOSED SETTLEMENT
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                       1   reunification with their parents, leaving their ability to seek asylum in doubt to the
                       2   extent their parents had received any removal order during the period of separation
                       3   and selected the option of being reunified via an “election form.”              All class
                       4   members thus were at risk of the same or similar injury (i.e., being removed
                       5   without an opportunity to seek asylum). Because the action is not based on conduct
                       6   unique to the named plaintiffs, and because all class members were subject to the
                       7   same course of conduct, typicality is satisfied for the child class.
                       8         Adequacy. The final requirement of Rule 23(a) is adequacy. Rule 23(a)(4)
                       9   requires a showing that “the representative parties will fairly and adequately protect
                      10   the interests of the class.” Fed. R. Civ. P. 23(a)(4). The adequacy requirement is
                      11   satisfied “if the proposed representative plaintiffs do not have conflicts of interest
                      12   with the proposed class and are represented by qualified and competent counsel.”
                      13   Kamakahi, 305 F.R.D. at 183. Class counsel are deemed qualified when they can
                      14   establish their experience in previous class actions and cases involving the same
                      15   area of law. Lynch v. Rank, 604 F. Supp. 30, 37 (N.D. Cal. 1984), aff’d 747 F.2d
                      16   528 (9th Cir. 1984), amended on reh’g, 763 F.2d 1098 (9th Cir. 1985).
                      17         Regarding the parent settlement class, proposed class counsel are attorneys
                      18   from a prominent law firm and with expertise in class actions, together with
                      19   attorneys from non-profit organizations that specialize in civil rights and
                      20   immigration law. See Ex. 10 (Decl. of Wilson Barmeyer); Ex. 11 (Decl. of Sirine
                      21   Shebaya); Ex. 12 (Decl. of Simon Sandoval-Moshenberg).                 Collectively, these
                      22   attorneys have extensive background in litigating class actions, and have extensive
                      23   experience in the underlying issues of immigration law, constitutional law, and
                      24   administrative law. See id. Likewise, the proposed named plaintiffs will fairly and
                      25   adequately protect the interests of the proposed class. Named plaintiffs’ interests
                      26   are aligned with the remaining putative class. Plaintiffs have alleged—on behalf of
                      27   themselves and the class—that the family separation impacted their ability to
                      28   meaningfully pursue asylum rights.
H OGAN L OVEL LS US
       LLP                                                          - 15 -    UNOPPOSED MOTION FOR PRELIMINARY
  ATTO RNEY S AT LAW                                                          APPROVAL OF PROPOSED SETTLEMENT
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                       1         As discussed above, there is a separate parent class identified in the
                       2   Agreement consisting of the same parent class definition, except that the
                       3   requirements of continuous physical presence in the United States do not apply. All
                       4   parent classes are sub-classes of the certified Ms. L. class. Class counsel for the Ms.
                       5   L. Plaintiffs will continue to act as class counsel for the reunification claims for all
                       6   parents, including the reunification claims of this separate parent subclass.
                       7         Regarding the child class, proposed class counsel are attorneys from a
                       8   prominent law firm with expertise in class actions who have been working closely
                       9   with attorneys from non-profit organizations that specialize immigration law and in
                      10   representing individuals and families in immigration proceedings. Ex. 13 (Decl. of
                      11   Justin Bernick).    Collectively, these attorneys have extensive background in
                      12   litigating class actions, and have extensive experience in the underlying issues of
                      13   immigration law, constitutional law, and administrative law. Id. The attorneys
                      14   have prosecuted the M.M.M. case vigorously on behalf of the proposed class,
                      15   pursuing the interests of M.M.M. plaintiffs and class members in securing
                      16   injunctive relief that will allow them to pursue asylum with the assistance of their
                      17   parents. Cf. Walters v. Reno, 145 F.3d 1032, 1046 (9th Cir. 1998) (adequacy
                      18   satisfied when “the district court specifically found that the attorneys for the class
                      19   representatives were well qualified and that the class representatives themselves
                      20   were adequate because they were not antagonistic to the interests of the class and
                      21   were ‘interested and involved in obtaining relief.’”). In addition, the interests of the
                      22   M.M.M. named plaintiffs and the child class are aligned. All class members,
                      23   including the M.M.M. plaintiffs, have been subjected to a similar course of conduct
                      24   and have a strong interest in (1) securing meaningful access to asylum procedures,
                      25   and (2) securing their parents’ assistance with those procedures. That is exactly the
                      26   interest the M.M.M. plaintiffs have represented in this case.
                      27             b. The Requirements of Rule 23(b)(2) Are Satisfied
                      28         Having analyzed the requirements of Rule 23(a), the next issue is whether
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       LLP                                                          - 16 -   UNOPPOSED MOTION FOR PRELIMINARY
  ATTO RNEY S AT LAW                                                         APPROVAL OF PROPOSED SETTLEMENT
     LOS A NG EL ES
                       1   Plaintiffs have shown that at least one of the requirements of Rule 23(b) is met.
                       2   Amchem Products, Inc. v. Windsor, 521 U.S. 591, 614-15 (1997). Under Rule
                       3   23(b)(2), class certification may be appropriate where the defendant “has acted or
                       4   refused to act on grounds that apply generally to the class, so that final injunctive
                       5   relief or corresponding declaratory relief is appropriate respecting the class as a
                       6   whole.” Parsons, 754 F.3d at 674. “That inquiry does not require an examination
                       7   of the viability or bases of the class members’ claims for relief, does not require
                       8   that the issues common to the class satisfy a Rule 23(b)(3)-like predominance test,
                       9   and does not require a finding that all members of the class have suffered identical
                      10   injuries.” Id. at 688.
                      11         Thus, “Rule 23(b)(2)‘s requirement that a defendant have acted consistently
                      12   towards the class is plainly more permissive than 23(b)(3)’s requirement that
                      13   questions common to the class predominate over individual issues.” Pecover v.
                      14   Elec. Arts Inc,, 2010 U.S. Dist. LEXIS 140632, at *40 (N.D. Cal. Dec. 21, 2010).
                      15   It is “‘almost automatically satisfied in actions primarily seeking injunctive relief.’”
                      16   Gray v. Golden Gate Nat’l Rec. Area, 279 F.R.D. 501, 520 (N.D. Cal. 2011)
                      17   (quoting Baby Neal for and by Kanter v. Casey, 43 F.3d 48, 58 (3rd Cir. 1994)).
                      18   Moreover, it is settled that “[e]ven if some class members have not been injured by
                      19   the challenged practice, a class may nevertheless be appropriate” under 23(b)(2).
                      20   Walters, 145 F.3d at 1047.
                      21         Rule 23(b)(2) is met here for the proposed classes.           Both the M.M.M.
                      22   plaintiffs and the Ms. L and Dora plaintiffs have sought relief from Defendants’
                      23   policies that resulted in family separation, which were applied to the classes as a
                      24   whole, and which they contend denied plaintiffs and class members with a
                      25   reasonable opportunity to pursue asylum or other protection from removal prior to
                      26   removal. Defendants thus acted on grounds that “apply generally to the class.”
                      27   Through litigation in M.M.M. and Ms. L/Dora, Plaintiffs sought to enjoin the
                      28   government from further unlawful interference with Plaintiffs’ and the absent class
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       LLP                                                          - 17 -   UNOPPOSED MOTION FOR PRELIMINARY
  ATTO RNEY S AT LAW                                                         APPROVAL OF PROPOSED SETTLEMENT
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                       1   members right to meaningfully pursue asylum or other protection from removal,
                       2   and the proposed settlement plan resolves these claims for the class “as a whole” by
                       3   seeking to restore each class member to a position that reasonably approximates the
                       4   position each class member would have occupied but for the Defendants’ conduct.
                       5             c. The Proposed Settlement Falls Within the Range of Possible
                       6                Approval
                       7         As explained above, once the Court determines that the proposed classes
                       8   meet the requirements of Rule 23(a) and Rule 23(b)(2), it must determine whether
                       9   the proposed settlement warrants consideration by members of the class and full
                      10   examination by the court at a final approval hearing.         Manual for Complex
                      11   Litigation (Fourth) § 13.14 at 173.      “Preliminary approval of a settlement is
                      12   appropriate if ‘the proposed settlement appears to be the product of serious,
                      13   informed, non-collusive negotiations, has no obvious deficiencies, does not
                      14   improperly grant preferential treatment to class representatives or segments of the
                      15   class, and falls within the range of possible approval.’” Lilly v. Jamba Juice Co.,
                      16   No. 13-cv-02998-JST, 2015 U.S. Dist. LEXIS 34498, at *18 (N.D. Cal. Mar. 18,
                      17   2015) (citations omitted). In considering whether the settlement falls within the
                      18   range of possible approval, courts look to “plaintiffs’ expected recovery balanced
                      19   against the value of the settlement offer,” as well as the “risk and [ ] anticipated
                      20   expense and complexity of further litigation.” Id. The proposed settlement easily
                      21   satisfies this requirement.
                      22         First, the Agreement is the product of hard-fought, non-collusive negotiations
                      23   between the government and the M.M.M., Dora, and Ms. L plaintiffs. Prior to those
                      24   negotiations, the M.M.M. plaintiffs had vigorously litigated a motion for TRO in
                      25   two different jurisdictions (D.D.C. and S.D. Cal.) and a motion for preliminary
                      26   injunction in one (D.D.C.). The parties engaged in significant briefing on the
                      27   merits, including the issue of jurisdiction, with the government hotly contesting the
                      28   court’s jurisdiction to hear the M.M.M. plaintiffs’ claims or award the requested
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       LLP                                                        - 18 -   UNOPPOSED MOTION FOR PRELIMINARY
  ATTO RNEY S AT LAW                                                       APPROVAL OF PROPOSED SETTLEMENT
     LOS A NG EL ES
                       1   relief. This litigation, and the views expressed by this Court and Judge Friedman,
                       2   informed those arm’s-length negotiations.
                       3         Moreover, when considering a proposed settlement, “the value of the
                       4   assessment of able counsel negotiating at arm’s length cannot be gainsaid.” Reed v.
                       5   Gen. Motors Corp., 703 F.2d 170, 175 (5th Cir. 1983). Here, counsel for all parties
                       6   are well versed in class actions and immigration law and are fully capable of
                       7   weighing the facts, law, and risks of continued litigation. Thus, “experienced
                       8   counsel on both sides, each with a comprehensive understanding of the strengths
                       9   and weaknesses of each party’s respective claims and defenses, negotiated this
                      10   settlement over an extended period of time.” Tableware, 484 F. Supp. 2d at 1080.
                      11   No evidence suggests the proposed settlement is collusive and, indeed, the
                      12   extensive negotiation process would disprove any such claim.
                      13         Additionally, the “substantive fairness and adequacy of the settlement
                      14   confirms this view of the fair procedures used to reach the settlement.” Tableware,
                      15   484 F. Supp. 2d at 1080.       The proposed settlement would provide fair and
                      16   meaningful procedures for the government to consider any claims of fear of return
                      17   made by parents and children who were separated. Under the proposed settlement,
                      18   members of the parent class who are still in the United States and who initially
                      19   received a negative finding related to their claims of fear will have an opportunity
                      20   for de novo review of their cases, with the opportunity to present testimony and
                      21   new evidence and the potential opportunity to pursue asylum or other protection
                      22   from removal as a family unit. This is significant and meaningful relief compared
                      23   to what was sought in Ms. L and Dora v. Sessions, 18-cv-1938 (D.D.C. 2018), and
                      24   what could have been achieved in litigation. Similarly, the proposed settlement
                      25   ensures that all members of the M.M.M. Class – children who were separated from
                      26   their parents – will have an opportunity to pursue asylum or other protection from
                      27   removal with the participation of a parent. This is relief that would not have been
                      28   achieved but for the M.M.M. litigation. Importantly, the settlement also “protects
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       LLP                                                        - 19 -   UNOPPOSED MOTION FOR PRELIMINARY
  ATTO RNEY S AT LAW                                                       APPROVAL OF PROPOSED SETTLEMENT
     LOS A NG EL ES
                       1   the rights of class members by ensuring that class members retain their individual
                       2   damages claims.” Lilly v. Jamba Juice Co., 2015 U.S. Dist. LEXIS 58451 (N.D.
                       3   Cal. May 1, 2015).
                       4         Further litigation would have presented significant risks and burdens to both
                       5   sides. Defendants have pressed complex jurisdictional and procedural defenses,
                       6   contested the merits of Plaintiffs’ claims, and heavily disputed whether Plaintiffs’
                       7   requested relief is an appropriate remedy for the harms alleged.            Given the
                       8   statements of this Court and Judge Friedman regarding these issues, Plaintiffs
                       9   would have assumed a degree of risk if they continued litigating these claims.
                      10         In contrast, the proposed settlement provides significant, meaningful, and
                      11   certain relief to members of both proposed classes, and does so within a fast time
                      12   period. The Plaintiff Classes are vulnerable parents and children, many of whom
                      13   are subject to final removal orders. As a result, the Plaintiff Classes have a powerful
                      14   interest in obtaining the relief the Agreement affords. In addition, many members of
                      15   the Plaintiff Classes are currently detained, and have a particular interest in
                      16   obtaining finality in their removal proceedings and to avoid prolonging their
                      17   custody. Moreover, the proposed settlement was also a result of a detailed and
                      18   intensive negotiation process, involving many stakeholders on both sides, and after
                      19   hard-fought litigation in both the Ms. L and M.M.M. cases. By any measure, it is
                      20   sufficiently fair to warrant preliminary approval.
                      21               d. The Proposed Notice Form and Notice Plan is Appropriate
                      22         The parties have agreed to provide notice to the Settlement Classes through
                      23   several methods. Unless otherwise indicated, notice will be provided by October
                      24   12, 2018.
                      25         First, the parties propose that counsel for Settlement Class members will
                      26   provide direct notice to the non-detained Settlement Class members who are within
                      27   the United States by providing them with the attached notice form in English and
                      28   Spanish and obtaining any waiver as appropriate. Defendants will provide counsel
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       LLP                                                         - 20 -   UNOPPOSED MOTION FOR PRELIMINARY
  ATTO RNEY S AT LAW                                                        APPROVAL OF PROPOSED SETTLEMENT
     LOS A NG EL ES
                       1   for Settlement Class members with any known contact information for all non-
                       2   detained Settlement Class members.8
                       3         Second, because many of the Settlement Class members are or recently have
                       4   been represented by counsel in connection with their immigration proceedings,
                       5   Plaintiffs’ counsel will coordinate the dissemination of the attached notice form and
                       6   the Agreement via electronic mail to list-serves and other electronic locations where
                       7   the notice is reasonably likely to be observed by class members’ counsel. Notice
                       8   will be disseminated within 48 hours of the Court’s preliminary approval of the
                       9   proposed settlement. The list-serves and other electronic locations include:
                      10             The Association of Pro Bono Counsel list-serve.9
                      11             The     Association of     Pro   Bono    Counsel’s    password-protected
                      12               SalesForce site.10
                      13             A private list-serve of organizations and individuals who have been
                      14               providing legal and other services to individuals affected by family
                      15               separation.11
                      16         Third, Plaintiffs’ counsel will disseminate the attached notice and the
                      17   Agreement directly to legal services providers (“LSPs”) that subcontract with the
                      18   Vera Institute of Justice to provide legal services to unaccompanied alien children
                      19
                      20
                           8
                      21          The parties continue to discuss which party will bear the costs of notice and
                           will raise the issue with the Court during the status conference scheduled for
                      22   October
                           9
                                    9, 2018 if they are unable to reach agreement by that time.
                                  The Association of Pro Bono Counsel is an organization of over 200
                      23   attorneys and practice group managers who administer pro bono practices in over
                           100 of the world’s largest law firms. The Association includes a network of
                      24   attorneys who are attempting to make contact with, and provide legal services for,
                           reunified families who have been released and are residing in their geographic area.
                      25   Plaintiffs’
                           10
                                       counsel will disseminate the notice and Agreement to the list-serve.
                                  Plaintiffs’ counsel will post the notice and Agreement to the password
                      26   protected
                           11
                                      SalesForce site.
                                  Manoj Govindaiah, Director of Family Detention at RAICES, will
                      27   disseminate the notice and Agreement to the private list-serve. RAICES is a
                           nonprofit organization that provides legal services to immigrant families in Texas,
                      28   including families detained at the family residential center in Karnes, Texas.
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       LLP                                                        - 21 -   UNOPPOSED MOTION FOR PRELIMINARY
  ATTO RNEY S AT LAW                                                       APPROVAL OF PROPOSED SETTLEMENT
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                       1   and detained adults and children.12 Notice will be disseminated within 48 hours of
                       2   the Court’s preliminary approval of the proposed settlement. The 35 LSPs that
                       3   subcontract with the Vera Institute of Justice are:
                       4              Al Justice
                       5              Ayuda
                       6              Cabrini
                       7              CAIR Coalition
                       8              Central American Resource Center (CARECEN)
                       9              Casa Cornelia Law Center
                      10              Catholic Charities, Archdiocese of New Orleans (CCANO)
                      11              Catholic Charities of Baltimore (Esperanza Center)
                      12              Catholic Charities Community Services New York (CCCS-NY)
                      13              Catholic Charities, Archdiocese of Washington (CCDC)
                      14              Charlotte Immigration Law Firm (CILF)
                      15              Catholic Legal Services, Archdiocese of Miami (CLS Miami)
                      16              Connecticut Legal Services (CTLS)
                      17              Diocesan Migrant & Refugee Services, Inc. (DMRS)
                      18              Erie County Bar Association, Volunteer Lawyers Project (ECBA-
                      19                VLP)
                      20              Florence Immigrant and Refugee Rights Project (FIRRP)
                      21              Hebrew Immigrant Aid Society Pennsylvania (HIAS PA)
                      22              Human Rights Initiative (HRI)
                      23              Hogar (Catholic Charities, Diocese of Arlington)
                      24              Immigrant Legal Advocacy Project (ILAP)
                      25              Immigration Counseling Services
                      26
                           12
                      27          Notice to these legal services providers will be disseminated by Plaintiffs’
                           counsel via electronic mail. The Vera Institute of Justice has provided at least one
                      28   point of contact at each LSP.
H OGAN L OVEL LS US
       LLP                                                         - 22 -    UNOPPOSED MOTION FOR PRELIMINARY
  ATTO RNEY S AT LAW                                                         APPROVAL OF PROPOSED SETTLEMENT
     LOS A NG EL ES
                       1             Immigrant Defenders Law Center (IDLC/ImmDef)
                       2             Jewish Family and Community Services of Pittsburgh (JFCSP)
                       3             Kids in Need of Defense (KIND)
                       4             Latino Memphis
                       5             Legal Services for Children (LSC)
                       6             Legal Services of New Jersey (LSNJ)
                       7             Mid-South Immigration Advocates Memphis (MIA Memphis)
                       8             Michigan Immigrant Rights Center (MIRC)
                       9             National Immigrant Justice Center (NIJC)
                      10             ProBAR
                      11             Public Counsel
                      12             Refugee and Immigrant Center for Education and Legal Services
                      13                (RAICES)
                      14             YMCA International
                      15         Fourth, Plaintiffs’ counsel will disseminate the attached notice and
                      16   Agreement to a list of over 100 legal services organizations that provide direct
                      17   representation to aliens in connection with immigration proceedings, a subset of
                      18   which previously identified themselves as having capacity to represent reunited
                      19   families who have been released. 13 See Ex. 14. The list of organizations was
                      20   compiled in part by the Vera Institute of Justice, Kids in Need of Defense (KIND),
                      21   and the American Bar Association, and in part by Plaintiffs’ counsel. Notice will
                      22   be disseminated within 48 hours of the Court’s preliminary approval of the
                      23   proposed settlement. There is some overlap between this list of organizations and
                      24   the 35 LSPs listed above, though it is uncertain how many of these organizations
                      25   have actually undertaken representation of any reunified families.
                      26
                      27   13
                                  Notice to these organizations will be disseminated by Plaintiffs’ counsel via
                      28   electronic mail.
H OGAN L OVEL LS US
       LLP                                                         - 23 -   UNOPPOSED MOTION FOR PRELIMINARY
  ATTO RNEY S AT LAW                                                        APPROVAL OF PROPOSED SETTLEMENT
     LOS A NG EL ES
                       1         Fifth, organizations working at the family residential centers at Karnes and
                       2   Dilley, Texas where reunified families are detained will hand deliver notices to
                       3   Settlement Class members in English or Spanish.14 Notices can be delivered to
                       4   Settlement Class members within 48 hours of preliminary approval of this
                       5   agreement. Defendants will provide Plaintiffs with a list of all Settlement Class
                       6   members who are currently detained in Karnes and Dilley in order to effectuate this
                       7   notice.
                       8         The parties have engaged in extensive outreach to interested persons and
                       9   organizations as part of the process of reaching the Agreement, and have had ample
                      10   communication with these interested persons and organizations since the
                      11   Agreement was reached. The proposed notice plan easily satisfies the Advisory
                      12   Committee’s standards for effecting class notice under Rule 23(b)(2) of the Federal
                      13   Rules of Civil Procedure.15 Moreover, the content of the proposed notice form is
                      14   appropriate. The form explains the basis of the lawsuits, the contours of the
                      15   Settlement Classes, the relief to which Settlement Class members are entitled, the
                      16   rights of Settlement Class members (including the right to object), and the date for
                      17   submitting such objections and for the fairness hearing. See, e.g., Stott v. Capital
                      18   Fin. Servs., Inc., 277 F.R.D. 316, 342 (N.D. Tex. 2011) (notice was appropriate
                      19   under Rule 23(c)(2)(A) where, as here, it “clearly provided the nature of the action,
                      20   the definition of the Settlement Class, the terms of the settlement, the class
                      21
                           14
                      22          The organization that works at Karnes is RAICES. The organization that
                           works at Dilley is the CARA Family Detention Pro Bono Project. Representatives
                      23   from both organizations have committed to carrying out this portion of the notice
                           plan.
                           15
                      24          “When the court does direct certification notice in a (b)(1) or (b)(2) class
                           action, the discretion and flexibility established by subdivision (c)(2)(A) extend to
                      25   the method of giving notice. Notice facilitates the opportunity to participate. Notice
                           calculated to reach a significant number of class members often will protect the
                      26   interests of all. Informal methods may prove effective. A simple posting in a place
                           visited by many class members, directing attention to a source of more detailed
                      27   information, may suffice. The court should consider the costs of notice in relation to
                           the probable reach of inexpensive methods.” Fed. R. Civ. P. 23(c)(2) (2003
                      28   Advisory Committee Notes).
H OGAN L OVEL LS US
       LLP                                                         - 24 -   UNOPPOSED MOTION FOR PRELIMINARY
  ATTO RNEY S AT LAW                                                        APPROVAL OF PROPOSED SETTLEMENT
     LOS A NG EL ES
                       1   members’ options, including the fact that they could not exclude themselves, the
                       2   claims, defenses, and the procedures surrounding the settlement;” “Class members
                       3   were further provided with the date of the fairness hearing and were given the
                       4   opportunity to object to the settlement, which was described in clear terms;” and
                       5   “[t]he scope of the class and effect of the Court’s potential approval of the
                       6   settlement were clearly explained to the recipients of the notice”).
                       7   V.    CONCLUSION
                       8         For the foregoing reasons, Plaintiffs respectfully request that the Court enter
                       9   the attached proposed order preliminarily approving the Agreement, preliminarily
                      10   certifying the proposed Settlement Classes, and approving the proposed notice form
                      11   and notice plan.
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H OGAN L OVEL LS US
       LLP                                                         - 25 -   UNOPPOSED MOTION FOR PRELIMINARY
  ATTO RNEY S AT LAW                                                        APPROVAL OF PROPOSED SETTLEMENT
     LOS A NG EL ES
                       1   October 5, 2018      HOGAN LOVELLS US LLP
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                                                San Diego, CA 92101
                      28                        phone: 619.342.8000
H OGAN L OVEL LS US
       LLP                                   - 26 -   UNOPPOSED MOTION FOR PRELIMINARY
  ATTO RNEY S AT LAW                                  APPROVAL OF PROPOSED SETTLEMENT
     LOS A NG EL ES
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                      22      ** Pro hac vice admission applications
                              forthcoming
                      23
                              Proposed Class Counsel for Parent
                      24      Class
                      25      Lee Gelernt
                              Judy Rabinovitz
                      26      Anand Balakrishnan
                              Stephen Kang
                      27      Spencer Amdur
                              Daniel Galindo
                      28      AMERICAN        CIVIL      LIBERTIES
H OGAN L OVEL LS US
       LLP                 - 27 -   UNOPPOSED MOTION FOR PRELIMINARY
  ATTO RNEY S AT LAW                APPROVAL OF PROPOSED SETTLEMENT
     LOS A NG EL ES
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                       7
                              Proposed Class Counsel For Removed
                       8      Parents
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H OGAN L OVEL LS US
       LLP                 - 28 -   UNOPPOSED MOTION FOR PRELIMINARY
  ATTO RNEY S AT LAW                APPROVAL OF PROPOSED SETTLEMENT
     LOS A NG EL ES
                       1                            CERTIFICATE OF SERVICE
                       2
                       3          I hereby certify that I filed the foregoing UNOPPOSED MOTION FOR
                       4   CLASS CERTIFICATION AND PRELIMINARY APPROVAL OF CLASS
                       5   SETTLEMENT, with the Clerk of the Court through the ECF system on October 5
                       6   2018. This system provided a copy to and effected service of this document on all
                       7   parties.
                       8 Dated:       October 5, 2018              HOGAN LOVELLS US LLP
                       9
                      10                                           By:      /s/ Michael Maddigan
                      11                                                  Michael Maddigan
                                                                          Attorneys for Plaintiff
                      12
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H OGAN L OVEL LS US
       LLP                                                       - 29 -      UNOPPOSED MOTION FOR PRELIMINARY
  ATTO RNEY S AT LAW                                                         APPROVAL OF PROPOSED SETTLEMENT
     LOS A NG EL ES
 1    M.M.M., on behalf of his minor child, J.M.A., et al. v. Jefferson Beauregard
 2            Sessions, III, Attorney General of the United States, et al.
 3
      EXHIBITS TO THE UNOPPOSED MOTION FOR PRELIMINARY
 4      APPROVAL OF PROPOSED SETTLEMENT; PRELIMINARY
     CERTIFICATION OF SETTLEMENT CLASSES; AND APPROVAL OF
 5                       CLASS NOTICE
 6                            TABLE OF CONTENTS
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 9
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       11            Declaration of Sirine Shebaya, Esq.               44-47
11
       12            Declaration of Simon Y. Sandoval-                 48-52
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                             Moshenberg, Esq.
13
       13             Declaration of Justin W. Bernick                 53-59
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                                         - 30 -
EXHIBIT 9




            Exhibit 9,   Page   31
Plan to address the asylum claims of class-member parents and children who are physically
                                present in the United States

The government is willing to agree to the following procedures for addressing the asylum claims
of M.M.M. agreed class members and the claims of Ms. L class members (and Dora plaintiffs),
other than those class members who agree to waive these procedures (and thus to waive any
further claims or relief).1 (In this document, references to Ms. L class members encompass Dora
plaintiffs.) Class counsel are responsible for determining a class member’s intentions related to
waiver of the procedures set forth below. Upon approval of this agreed-upon plan by the U.S.
District Court for the Southern District of California, M.M.M. agreed class members agree to
dismiss their pending litigation in the U.S. District Court for the District of Columbia, and to
refrain from seeking preliminary injunctive relief in their litigation pending in the U.S. District
Court for the Southern District of California; Dora plaintiffs agree to dismiss their pending
litigation in the U.S. District Court for the District of Columbia; and M.M.M. agreed class
members and Ms. L class members agree to refrain from additional litigation seeking
immigration- or asylum-related injunctive, declaratory, or equitable relief that arises from the
facts and circumstances set forth in the Ms. L, M.M.M., and Dora complaints relating to those
parents and children covered by this plan, including statutory claims. This plan applies only to
Ms. L class members and M.M.M. agreed class members who have been continuously physically
present in the United States since June 26, 2018, and does not set any precedent for any
additional group of aliens, and any exercise of legal authority or discretion taken pursuant to this
plan is exercised only to effectuate the implementation of this plan in relation to this group of
individuals. The Court’s approval of this agreement will resolve the pending preliminary-
injunction motion in M.M.M. and will also lift the TRO issued in that matter. The Court will
retain jurisdiction to enforce the provisions of this plan, which represents the substantive terms
for the implementation of a settlement agreement and supersedes the prior written or oral
communications between the parties regarding this plan.


1
    The classes of individuals to whom this plan relates include:
Ms. L Class Members and Dora Plaintiffs: All adult alien parents who entered the United States at or between
designated ports of entry with their child(ren), and who, on or before the effective date of this agreement: (1) were
detained in immigration custody by the DHS; (2) have a child who was or is separated from them by DHS and, on or
after June 26, 2018, was housed in ORR custody, ORR foster care, or DHS custody, absent a determination that the
parent is unfit or presents a danger to the child; and (3) have been (and whose child(ren) have been) continuously
physically present within the United States since June 26, 2018, whether in detention or released. The class does not
include alien parents with criminal histories or a communicable disease, or those encountered in the interior of the
United States.
M.M.M. Agreed Class Members: All alien children who are under the age of 18 on the effective date of this
agreement who: (1) entered the United States at or between designated ports of entry with an alien parent, and who
were separated from their parents, on or before the effective date of this settlement agreement; (2) have been or will
be reunified with that parent pursuant to the preliminary injunction issued by the Court in Ms. L v. U.S. Immigration
and Customs Enforcement, No. 18-428 (S.D. Cal. June 26, 2018); and (3) have been continuously physically present
in the United States since June 26, 2018.

All references to a “class” or “class member” in this document refer to the classes described above, as well as alien
parents who are not part of the Ms. L class due to criminal history or communicable disease, but who the Court has
ordered must be reunified.


                                                            1

                                                                                   Exhibit 9,             Page    32
1. a. Ms. L class members and M.M.M. agreed class members who are not currently detained
      in DHS custody (and are not currently in HHS custody) and who have been issued
      Notices to Appear (NTAs) will not be removed by DHS prior to issuance of a final
      removal order in their resulting removal proceedings conducted under Section 240 of the
      Immigration and Nationality Act (INA). If a Ms. L class member or M.M.M. agreed class
      member was released from DHS or ORR custody, is not currently in Section 240 removal
      proceedings, and is not subject to a final removal order, that individual can affirmatively
      apply for asylum before U.S. Citizenship and Immigration Services (USCIS), USCIS will
      adjudicate such an application regardless of whether an unfiled NTA exists, and USCIS
      will follow its established procedures concerning a parent’s involvement in his or her
      minor child’s asylum application process. If an M.M.M. agreed class member (whether
      currently detained or released) received a final removal order in Section 240 removal
      proceedings prior to reunification, DHS and HHS will work in good faith with M.M.M.
      counsel to identify such children within 15 days of approval of this agreement, and DHS
      will join in a motion to reopen those proceedings if requested by the M.M.M. agreed class
      member no later than 45 days from approval of this agreement. M.M.M. agreed class
      members who have not been reunified with their parent(s) as of the effective date of this
      agreement will be afforded existing procedures for unaccompanied alien children
      pursuant to governing statutes and regulations, including but not limited to Section 240
      removal proceedings, unless and until they are reunified with a parent, in which case the
      procedures described below will apply.
   b. If a detained, reunited M.M.M. agreed class member child has been served with an NTA,
      but the NTA has not been filed with an immigration court, DHS will exercise its
      discretion under 8 C.F.R. § 239.2(a) to cancel the NTA within 15 days of the Court’s
      approval of this agreement. For such a child who either had an NTA cancelled in this
      way, or who has never been served with an NTA, if the child is an arriving alien or was
      initially encountered by DHS within 14 days of entry and 100 miles of the border, ICE
      will then initiate expedited removal (ER) proceedings under Section 235 of the INA
      against the child. Where such a class member child asserts, or has already asserted, an
      intention to apply for asylum or a fear of persecution or torture, either directly or through
      counsel, they shall be referred to USCIS for a credible fear determination.
   c. If a detained, reunited M.M.M. agreed class member child has been issued an NTA that
      has been filed with an immigration court and the child is an arriving alien or was initially
      encountered by DHS within 14 days of entry and 100 miles of the border, DHS will file a
      motion to dismiss the pending Section 240 proceeding, seeking to do so jointly with the
      child’s immigration attorney of record, as practicable. Such a motion shall be filed within
      30 days of the Court’s approval of this agreement and shall request expedited
      consideration by the immigration court. Upon dismissal of the Section 240 proceeding,
      ICE will initiate expedited removal proceedings under Section 235 of the INA against the
      child. Where such a class member child asserts, or has already asserted, an intention to
      apply for asylum or a fear of persecution or torture, either directly or through counsel,
      they shall be referred to USCIS for a credible fear determination.
   d. For Ms. L class members who have not been issued an NTA and have final ER orders that
      have not been cancelled by DHS, USCIS will exercise its discretionary authority to sua
      sponte conduct in good faith a de novo review of the credible fear finding of the parent to

                                                2

                                                                     Exhibit 9,         Page    33
        determine if reconsideration of the negative determination is warranted. During that
        review process for Ms. L class members, USCIS will review the parent’s case and the
        information provided and determine whether the individual has a credible fear of
        persecution or torture. For the limited purpose of this settlement agreement, USCIS will
        speak with the individual again for additional fact-gathering and the individual may
        present new or additional information at this time, with the assistance of the individual’s
        counsel in-person unless ICE determines in good faith that in-person participation would
        adversely impact facility security or operations due to facility staffing, configuration, or
        access policies, in which case counsel will be permitted to participate telephonically,
        provided that counsel’s attendance is at no expense to the government and does not
        unreasonably delay the process. In determining whether any factual inconsistencies
        between the original interview and the subsequent fact-gathering impact the credibility of
        the parent, due consideration will be given to the psychological state of the parent at the
        time of the initial interview. If the parent establishes that he or she can meet the credible
        fear standard, as it is described at Section 235(b)(1)(B)(v) of the INA and 8 C.F.R. §
        208.30(e)(2) and (3), then DHS will issue and subsequently file an NTA. The children
        will be treated as the parent’s dependents under 8 C.F.R. § 208.30(b). If the parent’s
        credible fear determination remains negative, USCIS will screen the child individually
        for credible fear. The parent will be permitted to participate in the child(ren)’s credible
        fear interview and provide testimony on behalf of the child(ren), in addition to any
        testimony from the child(ren). Counsel for the child will be permitted to attend the
        interview in person unless ICE determines in good faith that in-person participation
        would adversely impact facility security or operations due to facility staffing,
        configuration, or access policies, in which case counsel will be permitted to participate
        telephonically, so long as it does not unreasonably delay the process and any attorney
        assistance is at no expense to the government.
    e. For Ms. L class members who are currently detained 2 with their M.M.M. agreed class
       member child(ren) at an ICE FRC and are subject to reinstated orders of removal, ICE will
       initiate ER proceedings under Section 235 against the minor child(ren), upon a
       determination that the child was initially encountered within 14 days of entry and 100
       miles of the border. During those proceedings, the child(ren) will be referred for a credible
       fear determination if the child(ren) asserts, or has already asserted, a fear of return, either
       directly or through counsel. The credible fear claim will then be considered under the
       standards of 8 C.F.R. § 208.30, as described above. USCIS will conduct the credible fear
       interview of the child(ren) in coordination with a sua sponte review of the reasonable fear
       determination for the parents to determine whether reconsideration of the negative
       reasonable fear determination is warranted.
        USCIS will review the parent’s case and the information provided and determine whether
        the individual has a reasonable fear of persecution or torture. For the limited purpose of
        this settlement agreement, USCIS will speak with the individual again for additional fact-
        gathering and the individual may present new or additional information at this time, with
        the assistance of the individual’s counsel in-person unless ICE determines in good faith

2
 This agreement does not impact the ability of Ms. L class members with reinstated orders of removal who are not
detained to pursue any available appeal of such an order under existing law and subject to statutory time periods.


                                                        3

                                                                                Exhibit 9,            Page     34
        that in-person participation is impracticable or would adversely impact facility security or
        operations due to facility staffing, configuration, or access policies, in which case counsel
        will be permitted to participate telephonically, provided that counsel’s attendance is at no
        expense to the government and does not unreasonably delay the process. In determining
        whether any factual inconsistencies between the original interview and the subsequent
        fact-gathering impact the credibility of the parent, due consideration will be given to the
        psychological state of the parent at the time of the initial interview. If the parent
        establishes that he or she can meet the reasonable fear standard, as it is described at 8
        C.F.R. § 208.31(c), then DHS will place the parent in withholding-only proceedings. The
        parent will be permitted to participate in the child(ren)’s credible fear interview and
        provide testimony on behalf of the child(ren), in addition to any testimony from the
        child(ren). Counsel for the child will be permitted to attend the interview in person unless
        ICE determines in good faith that in-person participation is impracticable or would
        adversely impact facility security or operations due to facility staffing, configuration, or
        access, in which case counsel will be permitted to participate telephonically, so long as it
        does not unreasonably delay the process and any attorney assistance is at no expense to
        the government.
     f. If the parent’s credible fear or reasonable fear finding remains negative upon review,
        USCIS will notify the parent in writing that USCIS declines to reconsider the existing
        negative credible fear or reasonable fear determination. If the child receives a separate
        negative credible fear determination, the child may seek review by an immigration judge.
     g. For purposes of the reviews and interviews of detained parents and/or children described
        in this proposal, the government shall provide the parent and/or child with the orientation
        that is normally provided for credible fear interviews, and shall provide at least 5 days’
        notice of such orientation. Notice of the orientation shall be provided no later than 3 days
        following the parent and/or child’s execution of a document reflecting his or her decision
        pursuant to paragraph 8 of this agreement, and the notice shall state the purpose of the
        notice (orientation for an interview or review) and the date, time, and location of the
        orientation. Such reviews and interviews will be conducted at least 48 hours after the
        orientation, with due consideration given to any reasonable requests to continue the
        interview. The notice and time periods described in this paragraph will not apply if a
        parent affirmatively requests, in writing, that the review or interview take place on an
        expedited basis.
2.      In the case of a parent and child(ren) both in ER proceedings under the process described
        above, if either the parent or the child establishes a credible fear of persecution or torture,
        USCIS will issue NTAs to both parent and child and place the family in Section 240
        removal proceedings. See 8 C.F.R. §§ 208.30(f) (positive credible fear finding made by
        USCIS), 1208.30(g)(2)(iv)(B) (positive credible fear finding made by immigration judge).
3.      In the case of a parent and child(ren) both in ER proceedings under the process described
        above, if none of the family members establish credible fear of persecution or torture
        (and in the case of a child who seeks review of the credible fear finding by an
        immigration judge, such finding is upheld by an immigration judge), the ER orders may
        immediately be executed.



                                                  4

                                                                        Exhibit 9,          Page    35
4.      In the case of a parent who is subject to a reinstated order of removal, if the child(ren)
        establishes credible fear and the parent does not establish a reasonable fear, the child(ren)
        would be placed in Section 240 removal proceedings and the parent would at that time be
        subject to continued detention or release, in DHS’s discretion, consistent with paragraph
        7 below. DHS will not remove a Ms. L class member who received a negative reasonable
        fear finding while his or her M.M.M. agreed class member child goes through the credible
        fear process and, if applicable, Section 240 removal proceedings. Plaintiffs concede,
        however, that removal of any Ms. L class member with a reinstated removal order under
        this agreement is significantly likely to occur in the reasonably foreseeable future and
        that, if a parent initiates legal proceedings challenging their continued detention, DHS
        may immediately proceed with that Ms. L class member’s removal, regardless of any
        injunctive orders issued in Ms. L and M.M.M., provided that DHS gives the parent at least
        7 days’ advance notice to the parent that he or she will be removed.
5.      In the case of a parent who is subject to a reinstated order of removal, if the child(ren)
        establish credible fear and the parent establishes a reasonable fear, the child(ren) would
        be issued NTAs and placed in Section 240 removal proceedings, and the parent would be
        referred for withholding-only proceedings pursuant to 8 C.F.R. §§ 1208.2(c)(2) and
        1208.31(e).
6.      If a Ms. L. class member who is currently detained3 in an ICE FRC with his or her M.M.M.
        agreed class member child is subject to a final removal order issued in proceedings
        conducted under Section 240 (other than a reinstated order) and the child is an arriving
        alien or was initially encountered by DHS within 14 days of entry and 100 miles of the
        border, ICE would initiate ER proceedings under Section 235 against the child within 7
        days of the Court’s approval of this agreement, and refer the child for a credible fear
        interview. While the final order parent would not be a party to the child’s credible fear
        adjudication, the parent would be available to consult with and assist the child in the
        course of that process. The parent would be permitted to participate in the child(ren)’s
        credible fear interview and provide testimony on behalf of the child(ren), in addition to
        any testimony from the child(ren). Counsel for the child will be permitted to attend the
        interview in person, so long as it does not unreasonably delay the process and any
        attorney assistance is at no expense to the government, and the timing of the interview
        will be in accordance with Paragraph 1.g. above. If the child establishes a credible fear of
        persecution or torture, USCIS will place the child in Section 240 removal proceedings,
        and ICE will move for reopening of the parent’s prior removal proceedings and
        consolidation of the parent’s case with the child’s before the immigration court. If the
        child does not establish credible fear of persecution or torture, the removal orders may
        immediately be executed.
7.      Detention and custody decisions for aliens covered by this plan will be made consistent
        with DHS’s authorities under Sections 235, 236, and 241, and the Order Granting Joint
        Motion Regarding Scope Of The Court’s Preliminary Injunction in Ms. L. v. ICE, No. 18-
        428 (S.D. Cal.) (Aug. 16, 2018) (ECF 192) (recognizing that class members may be

3
  This agreement does not impact the ability of Ms. L class members with final removal orders issued in Section 240
removal proceedings, other than a reinstated order of removal, and who are not detained, to pursue individual
appeals of such orders under existing law and subject to statutory time periods for challenging any such order.


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                                                                                 Exhibit 9,            Page     36
        required to choose whether to waive their own right not to be separated from their minor
        child(ren) or to waive their child(ren)’s right under the Flores Settlement Agreement to
        be released, including the rights with regard to placement in the least restrictive setting
        appropriate to the minor’s age and special needs, and the right to release or placement in
        a “licensed program.”).
8.      Ms. L counsel, M.M.M. counsel, or Dora counsel may identify class members who wish
        to waive the procedures described herein and be promptly removed to their country of
        origin. Ms. L counsel, M.M.M. counsel, and Dora counsel will promptly develop a
        process for obtaining and documenting such a choice through a knowing and voluntary
        waiver. Defendants will not engage with class members on such matters, but will seek to
        effectuate such waiver decisions when communicated and documented by Ms. L counsel,
        M.M.M. counsel, or Dora counsel. Class members may either pursue the relief described
        in this agreement or elect prompt removal, but may not pursue any other immigration- or
        asylum-related injunctive, declaratory, or equitable relief based on the allegations or
        claims made in any of the Ms. L, M.M.M., or Dora complaints filed in any court accruing
        as of the date this plan is approved by the Court, including statutory claims. This
        agreement does not affect the right of Ms. L class members to seek reunification under
        the June 26, 2018 preliminary injunction in Ms. L.

                         The return of removed parents to the United States4

The government does not intend to, nor does it agree to, return any removed parent to the United
States or to facilitate any return of such removed parents. The classes agree not to pursue any
right or claim of removed parents to return to the United States other than as specifically set forth
in this paragraph. Plaintiffs’ counsel may raise with the government individual cases in which
plaintiffs’ counsel believes the return of a particular removed Ms. L class member may be
warranted. Plaintiffs’ counsel represent that they believe that such individual cases will be rare
and unusual and that they have no basis for believing that such individual cases will be other
than rare and unusual. Plaintiffs’ counsel agree to present any such cases, including all evidence
they would like considered by the government within 30 days of the approval of this agreement.
In light of plaintiffs’ counsel’s representation that such cases will be rare and unusual,
Defendants agree to provide a reply to any case presented by Plaintiffs within 30 days of
receiving Plaintiffs’ request to consider the case. Except as specifically set forth herein, the
classes agree that existing law, existing procedures, and the Court-approved reunification plan
address all interests that such parents or their children may have.

With respect to M.M.M. agreed class members who seek asylum and who have removed parents,
the government agrees not to oppose requests that the removed parent provide testimony or
evidence telephonically or in writing in the child’s asylum or removal proceedings and that ICE
attorneys appearing in immigration court (1) will not object to the admission of documentary
evidence (such as photocopied, scanned, or faxed documents) provided by the removed parent on

4
 For this section of this agreement, the classes are the same as in footnote 1 above except that the requirements of
continuous physical presence in the United States do not apply to this section of the agreement, since this section
addresses removed parents.


                                                         6

                                                                                 Exhibit 9,             Page     37
the grounds that such documentary evidence does not bear an original signature or is not an
original copy (ICE reserves the right to object based on other grounds), and (2) will not object to
telephonic participation by the parent in the M.M.M. agreed class member’s Section 240 removal
proceedings provided that the alien (and his or her legal representative, if applicable) make
appropriate motions to the immigration judge to permit telephonic testimony in advance of any
merits hearing, that the alien is responsible for providing accurate contact information to permit
the immigration judge to make contact with the parent, and that the parent’s unavailability and
faulty connections or other technological impediments may not serve as the basis for delaying
scheduled hearings. Class members, however, recognize that ICE has no control over the
technology or logistics of the Executive Office for Immigration Review.




                                                7

                                                                     Exhibit 9,         Page    38
EXHIBIT 10




             Exhibit 10,   Page   39
Exhibit 10,   Page   40
Exhibit 10,   Page   41
Exhibit 10,   Page   42
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EXHIBIT 11




             Exhibit 11,   Page   44
Exhibit 11,   Page   45
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EXHIBIT 12




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EXHIBIT 13




             Exhibit 13,   Page   53
 1
                            UNITED STATES DISTRICT COURT
 2
                           SOUTHERN DISTRICT OF CALIFORNIA
 3
                                       SAN DIEGO DIVISION
 4
 5
     M.M.M., on behalf of his minor child,          Case No. 3:18-cv-1832-DMS
 6   J.M.A., et al.,
 7
                         Plaintiffs,
 8
     v.
 9
     Jefferson Beauregard Sessions, III,
10   Attorney General of the United States,
     et al.,
11
                         Defendant.
12
13                                                  Case No. 3:18-cv-428-DMS
     Ms. L, et al.,
14
                                                   DECLARATION OF JUSTIN W.
15                       Plaintiffs,               BERNICK IN SUPPORT OF
                                                   PLAINTIFFS’ UNOPPOSED
16   v.                                            MOTION FOR PRELIMINARY
                                                   APPROVAL; PRELIMINARY
17   U.S. Immigration and Customs                  CERTIFICATION OF
     Enforcement, et al.,                          SETTLEMENT CLASSES; AND
18                                                 APPROVAL OF CLASS NOTICE
                         Defendants.
19
20
21   I, Justin W. Bernick, hereby state as follows:
22          1.        I am a Partner at the international law firm Hogan Lovells LLP. I have
23   personal knowledge of the matters set forth in this declaration and, if called to
24   testify to them, would be competent to do so.
25          2.        I am one of several attorneys at Hogan Lovells who represent the six
26
     named plaintiffs (“M.M.M. Plaintiffs”) in the above-captioned case (“M.M.M.”). I,
27
     along with my colleagues Zachary Best, T. Weymouth, and Ira Feinberg, have led
28
     the litigation of M.M.M. before and after the case was filed.
                                                             Exhibit 13,     Page   54
 1         3.     The Hogan Lovells team filed and has been litigating M.M.M. in close
 2   consultation with immigration attorneys who specialize in the representation of
 3   noncitizen children and families, including Manoj Govindaiah and Shalyn Fluharty.
 4         4.     Mr. Govindaiah is Director of Family Detention Services at the
 5   Refugee and Immigrant Center for Education and Legal Services (RAICES), and he
 6   oversees RAICES’ representation of noncitizen families at Texas family detention
 7   centers. RAICES is one of 35 legal services providers that subcontracts with the
 8   Vera Institute of Justice and the federal government to provide legal services to
 9   noncitizens in connection with their immigration proceedings.
10         5.     Ms. Fluharty is the Managing Attorney of the Dilley Pro Bono Project,
11   where she provides legal services to families who are detained in Dilley, Texas in
12   collaboration with a national volunteer network and seven full-time staff. Together,
13   Mr. Govindaiah and Ms. Fluharty have represented thousands of asylum-seeking
14
     families in credible fear and other immigration proceedings.
15
           6.     The Hogan Lovells team, and Hogan Lovells more broadly, have
16
     extensive experience litigating class actions in federal court. For example, Hogan
17
     Lovells was named Law360’s Class Action Group of the Year, 2018. Attorneys on
18
     the Hogan Lovells team or other attorneys at the firm have litigated (or are
19
     currently litigating) the following class action cases in federal court, on both the
20
     plaintiff and defense sides: In re Blue Cross Blue Shield Antitrust Litigation, No.
21
     2:13-cv-2000 (N.D. Ala.) (one of the largest antitrust class action MDLs in history);
22
     Moore, et al. v. Johnson, No. 1:00-cv-953 (D.D.C.) (Hogan Lovells served as co-
23
     lead counsel for the plaintiff settlement class of Secret Service agents); Castelano v.
24
     Clinton, 7:08-cv-57 (S.D. Tex.) (Hogan Lovells served as co-lead counsel for the
25
     plaintiff settlement class of passport applicants); Garnett v. Zeilinger, No. 17-cv-
26
     1757 (D.D.C.) (Hogan Lovells represents class of government benefit recipients);
27
     In re Anthem, Inc. Data Breach Litigation, No. 5:15-md-2617 (N.D. Cal.) (class
28
     action settlement resolving over 120 class action cases); George et al. v. CNH
                                          -2-
                                                               Exhibit 13,       Page   55
 1   Health & Welfare Benefit Plan et al., No. 2:16-cv-01678 (E.D. Wis.) (class action
 2   settlement); St. Gregory Cathedral School, et al. v. LG Electronics, Inc., No. 6:12-
 3   cv-739 (E.D. Tex.) (class certification denied); In re WellPoint, Inc. Out-of-
 4   Network “UCR” Rates Litigation, No. MDL 09–2074 (C.D. Cal.) (class
 5   certification denied in multidistrict litigation); Kamakahi v. Am. Society for
 6   Reproductive Medicine, No. 3:11-cv-1781 (N.D. Cal.) (class action settlement); In
 7   Re: Epipen (Epinephrine Injection, USP) Marketing, Sales Practices and Antitrust
 8   Litigation, 2:17-md-2785 (D. Kan.) (ongoing class action MDL); In Re: Uber
 9   Technologies, Inc., Data Security Breach Litigation, No. 2:18-ml-2826 (C.D. Cal.)
10   (ongoing class action MDL).
11         7.     In addition to the class action experience described above, lawyers at
12   Hogan Lovells regularly represent noncitizens in immigration proceedings,
13   including unaccompanied minors and families seeking asylum.
14
           8.     In light of the foregoing, counsel for the M.M.M. Plaintiffs is
15
     competent and well-qualified to serve as class counsel for the proposed class of
16
     children.
17
           9.     Since filing this action on July 27, 2018, the Hogan Lovells team has
18
     vigorously prosecuted the claims of the M.M.M. Plaintiffs and similarly-situated
19
     children, at times in two different forums simultaneously. From July 27 to August
20
     17 alone, these efforts to prosecute the claims included: (1) filing a motion for
21
     emergency temporary restraining order (“TRO”) and preliminary injunction in
22
     conjunction with the original complaint; (2) conducting a hearing on the emergency
23
     motion for TRO in D.D.C.; (3) opposing Defendants’ motion to transfer venue to
24
     the Southern District of California; (4) filing supplemental briefing on Defendants’
25
     request to transfer venue; (5) filing supplemental briefing in this Court in support of
26
     the motion for TRO; (6) arguing the motion for TRO before this Court; (7) filing a
27
     motion for expedited discovery in D.D.C. and reviewing the discovery produced;
28
     (8) arguing the motion for preliminary injunction in D.D.C.; (9) filing supplemental
                                             -3-
                                                               Exhibit 13,       Page   56
 1   briefing regarding a revised proposed preliminary injunction order in D.D.C.; (10)
 2   filing a supplemental brief regarding a possible stay in D.D.C.; and (11) attending
 3   weekly status conference before this Court.
 4         10.   On August 16, 2018, this Court granted the M.M.M. Plaintiffs’ motion
 5   for a temporary restraining order against Defendants, staying the removal of all
 6   putative class members and their parents pending a resolution of their claims on the
 7   merits. The Court’s order directed the parties to “meet and confer and propose a
 8   solution—one that follows the law, and is equitable and reflective of ordered
 9   governance.”
10         11.   The Court subsequently held a status conference on August 17, 2018
11   with the parties in M.M.M. and Ms. L v. U.S. Immigration and Customs
12   Enforcement, No. 3:18-cv-428 (S.D. Cal.). During the status conference, the Court
13   discussed its ruling on the M.M.M. Plaintiffs’ motion for TRO and the “Interagency
14
     Plan for Reunification of Separated Minors with Removed Parents” filed in Ms. L
15
     (“Interagency Plan”). Following the status conference, the Court entered an order
16
     approving the Interagency Plan. The order also set out the specific issues on which
17
     it wished the parties – including the plaintiffs in Ms. L – to meet and confer,
18
     including: (1) whether removed parents have a right to be reunified with their
19
     children in the United States, (2) class certification in M.M.M., and (3) whether the
20
     plaintiffs in M.M.M. are entitled to pursue asylum requests under § 235 or § 240.
21
           12.   The Court set the meet and confer period at one week, ordering the
22
     parties to “propose a briefing schedule” by August 23, 2018, if they were “unable to
23
     reach agreement on these issues.”
24
           13.   Per the Court’s instructions, counsel for Defendants and counsel for
25
     the plaintiffs in Ms. L and M.M.M. met and conferred extensively over the ensuing
26
     four weeks – seeking a number of short extensions – to determine whether the
27
     parties could negotiate a solution to the claims in M.M.M. and the issues identified
28
     in the Court’s August 17 order. During this process the Hogan Lovells team
                                       -4-
                                                              Exhibit 13,      Page   57
 1   remained in constant consultation with attorneys who specialize in representing
 2   noncitizen families, including Mr. Govindaiah and Ms. Fluharty.
 3         14.    The negotiations also included counsel for the plaintiffs in Dora v.
 4   Sessions, No. 18-cv-1938 (D.D.C.), given the close nexus between the issues in
 5   M.M.M. and the issues in Dora. The 29 named plaintiffs in Dora, all parents who
 6   had been separated from their children and received negative credible fear
 7   determinations while separated, alleged that the separation policy denied them of a
 8   meaningful opportunity to apply for asylum. Thus, together, the Ms. L, M.M.M.,
 9   and Dora cases presented the question of what asylum-related process is due to
10   parents and children who were subject to the government’s separation policy.
11         15.    The proposed settlement agreement was the result of hard-fought,
12   arms-length negotiations between the parties. During these negotiations, the Hogan
13   Lovells team represented the interests of the M.M.M. plaintiffs and the proposed
14
     class of children, and plaintiffs’ counsel in Ms. L and Dora represented the interests
15
     of the proposed class of parents.      The substantive provisions of the proposed
16
     agreement were the product of repeated exchanges between counsel for the
17
     plaintiffs and the government. Agreements were not reached easily, as counsel on
18
     both sides vigorously advocated for different terms.
19
           16.    I believe it is in the proposed class’s interests to avoid the risks and
20
     burden of further litigation of this matter. After considering the benefits that the
21
     M.M.M. Plaintiffs and the proposed class will receive under the settlement, and the
22
     risks of litigation, I have concluded that the terms and conditions of the proposed
23
     settlement are fair, reasonable, and in the best interests of the M.M.M. Plaintiffs and
24
     the proposed class.
25
           I hereby declare under penalty of perjury that the foregoing is true and
26
     correct to the best of my knowledge and belief.
27
28
     EXECUTED WITHIN THE UNITED STATES ON: October 5, 2018
                                 -5-
                                                               Exhibit 13,       Page   58
 1
 2
 3   BY: /s/ Justin W. Bernick
 4          Justin W. Bernick
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      -6-
                       Exhibit 13,   Page   59
EXHIBIT 14




             Exhibit 14,   Page   60
Name of Organization
Advocates for Basic Legal Equality, Inc. (ABLE)
Al Otro Lado
American Gateways
American Immigration Council (AIC)
American Immigration Lawyers' Association (AILA)
Americans for Immigrant Justice (AIJ)
Asian Services in Action Inc.
Association of Pro Bono Counsel (APBCo)
Asylum Seeker Advocacy Project (ASAP)
Ayuda
Bender's Imm. Bulletin Daily
Bronx Legal Services
Capital Area Immigrants' Rights Coalition (CAIR Coalition)
CARECEN
Casa Cornelia Law Center
Casa María
Catholic Charities Archdiocese of New Orleans
Catholic Charities Community Services, Archdiocese of New York ~ Immigrant & Refugee Services
Catholic Charities of Baton Rouge
Catholic Charities of Dallas
Catholic Legal Immigration Network, Inc. (CLINIC)
Catholic Legal Services
Central West Justice Center
Children and Family Justice Center - Northwestern Pritzker School of Law Bluhm Legal Clinic
CHIRLA
City Bar Justice Center
Community Legal Services and Counseling Center
Community Legal Services in East Palo Alto
Connecticut Legal Services
DePaul Legal Clinic
Diocesan Migrant & Refugee Services, Inc.
Dolores Street Community Services
E.L. Nelson, Esq.
ECBA Volunteer Lawyers Project, Inc.
Esperanza Immigrant Rights Project of Catholic Charities of Los Angeles, Inc.
Farmworker Legal Aid Clinic
Federal Bar Ass'n, Imm. Law Section
Georgia Asylum and Immigration Network (GAIN)
HIAS
HIAS Pennsylvania
Hofstra Youth Advocacy Clinic
Human Rights First
Immigrant Defenders Law Center
Immigrant Justice Clinic UW Madison




                                                                        Exhibit 14,           Page   61
Immigrant Law Center of Minnesota
Immigrant Legal Center (ILC)
Jewish Family and Children's Services (JFCS)
Justice and Mercy Legal Aid Clinic
Justice for Immigrants & Familes Project at the Florence Immigrant & Refugee Rights Project
Justice For Our Neighbors Michigan
Justice For Our Neighbors Network
Justice In Motion
Keker, Van Nest & Peters LLP
Kids in Need of Defense (KIND)
Law Office of Helen Lawrence
Law Office of Sheila Starkey Hahn
Lawyers' Committee for Civil Rights of the San Francisco Bay Area
Legal Aid of North Carolina's Battered Immigrant Project (BIP)
Legal Aid Society of Cleveland
McCrummen Immigration Law Group
Medical Legal Partnership Colorado
Michigan Immigrant Rights Center
Migrant and Immigrant Community Action (MICA) Project
Migrant Center for Human Rights
Mobilization for Justice, Inc.
Mobilization for Justice, Inc. - Kinship Caregiver Law Project
National Council of La Raza (NCLR)
National Immigrant Justice Center (NIJC)
National Immigration Law Center (NILC)
National Immigration Project of the National Lawyers' Guild (NIP)
Nebraska Appleseed
Nebraska Immigration Legal Assistance Hotline (NILAH)
Northwestern Law School Children and Family Justice Center
OneJustice
ProBAR
Public Counsel
Refugee and Immigrant Center for Education and Legal Services (RAICES)
Richard Frankel
Rocky Mountain Immigrant Advocacy Network
Santa Fe Dreamers Project
Southern Poverty Law Center (SPLC)
Southwestern Law School Pro Bono Removal Defense Program
St. Francis Community Services/Catholic Legal Assistance Ministry
Staten Island Legal Services
Tahirih Justice Center
Tahirih Justice Center- San Francisco Bay Area Office
Tahirih Justice Center, Houston Office
Texas Civil Rights Project (TCRP)
The Advocates for Human Rights




                                                                        Exhibit 14,           Page   62
The Door - A Center of Alternatives, Inc.
The Florence Project
The Gibson Report
The International Institute of Akron
The Vera Institute of Justice (Vera)
University of Detroit Mercy School of Law
University of Texas Law School Immigration Clinic
UnLocal, Inc.
USC Gould School of Law Immigration Clinic
USCRI North Carolina
Washington University Immigration Law Clinic
Western State College of Law Immigration Clinic
Women’s Refugee Commission




                                                    Exhibit 14,   Page   63
